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         UNITED STATES DISTRICT COURT OF NEW JERSEY
                      NEWARK DIVISION



 LINDA RIZZO-RUPON, et al.,

                Plaintiffs,

 v.                                      Civil Action No. 2:19-cv-00221


 INTERNATIONAL ASSOCIATION MEMORANDUM IN SUPPORT OF
 OF MACHINISTS AND         IAM’S MOTION TO DISMISS
 AEROSPACE WORKERS, AFL-
 CIO, et al.,              Motion Date: July 1, 2019

                 Defendants.
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      Defendants International Association of Machinists and Aerospace Workers,

AFL-CIO, IAM District Lodge 141, and IAM Local Lodge 914 (collectively “IAM”

or “the Union”) hereby submit this memorandum in support of its Motion to Dismiss

Plaintiffs’ Complaint under Rule 12(b)(6), Fed. R. Civ. P., and LCvR 7.1. Dismissal

is required by the Supreme Court’s holding in Railway Employes’ Department v.

Hanson, 351 U.S. 225 (1956).

                                INTRODUCTION

      In this action, Plaintiffs seek to overturn Section 2 Eleventh of the Railway

Labor Act (“RLA”), 45 U.S.C. § 152 Eleventh, as unconstitutional under the First

and Fifth Amendments.

      Plaintiffs work as passenger service employees for United Airlines. The IAM

is the certified collective bargaining representative for passenger service employees

at United. United and the IAM have negotiated a provision in their collective

bargaining agreement which requires nonmembers to pay fees to help defray the

costs incurred by the Union in representing these employees. This agency fee

provision is not required by the RLA, although it is permitted under Section 2

Eleventh of the Act, 45 U.S.C. § 152 Eleventh.

      In this action, Plaintiffs challenge the constitutionality of Section 2 Eleventh

under the First and Fifth Amendments. However, in Railway Employes’ Department

v. Hanson, 351 U.S. 225 (1956), the Supreme Court expressly rejected the same


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constitutional challenge raised here, holding that Section 2 Eleventh “is within the

power of Congress under the Commerce Clause and does not violate either the First

or the Fifth Amendments.” Id. at 238. Hanson has been the law for over 60 years

and requires this Court to dismiss Plaintiffs’ Complaint for failure to state a claim.

While Plaintiffs’ Complaint references the Supreme Court’s recent decision in Janus

v. AFSCME, 138 S. Ct. 2448 (2018), Janus addressed First Amendment issues

applicable only to employees whose union entered into an agreement with a state,

and is wholly inapplicable to the private-sector employees here. Because binding

precedent forecloses Plaintiffs’ claims, this action should be dismissed.

                   STATEMENT OF FACTS AS ALLEGED

      I.     Background Facts.1

      Plaintiffs Linda Rizzo-Rupon, Susan Marshall, and Noemieo Oliveira work

as passenger service employees for United Airlines at Newark Liberty International

Airport. Compl. ¶ 1. IAM is the certified collective bargaining representative of

United’s passenger service employees. Compl., ¶¶ 8-10, Ex. 3. Plaintiffs are

represented by three semi-autonomous levels of the IAM: the International Union

(Grand Lodge), IAM District Lodge 141, and IAM Local Lodge 914, a local union




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       For purposes of this motion to dismiss, the Union accepts as true the facts
plead in Plaintiffs’ Complaint.

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affiliated with the District Lodge and International. Compl., first unnumbered

paragraph and ¶¶ 12-13.

      The collective bargaining relationship between United and the IAM is

governed by the Railway Labor Act, 45 U.S.C. § 151, et seq. Compl. ¶ 11. The

IAM was elected to represent United passenger service employees by majority vote

of the employees. Compl., Ex. 2 (39 NMB 294 (2012)). United and the IAM have

negotiated a collective bargaining agreement governing the terms and conditions of

employment at United. Compl., ¶ 20, Ex. 3. The agreement was ratified by majority

vote of the passenger service employees. Compl., Ex. 5.

      Pursuant to Article 8(B)(1) of the agreement, employees are not required to

become members of the Union, but they are required to pay “service fees,” also

known as agency fees, to the Union equal to monthly membership dues. See Compl.,

Ex. 3; id. at Ex. 5 (Union publication stating the Service Fee provision was a

“democratically reached decision” of the passenger service employees).            The

purpose of this provision is to defray the costs of representing nonmember

employees at United. Id; Compl., Ex. 3. Additionally, nonmember agency fee

payers may also become “dues objectors” and pay a reduced fee rate for expenses

only directly related to collective bargaining matters. Compl., Ex. 5, pages 3, 5.2


2
       See also Attachment A to the Declaration of Alexander Gerulis. Attached to
Plaintiffs’ Complaint, Dkt. No. 1-5, are letters from Mr. Gerulis to Plaintiffs’ dated
September 8, 2017. The Plaintiffs failed to include, however, the enclosures
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      II.    Nature Of Plaintiffs’ Complaint.

      On January 8, 2019, Plaintiffs filed this suit against the IAM. This action is a

constitutional challenge to Section 2 Eleventh of the Railway Labor Act, which

preempts any state or federal law that prohibits unions and employers from

negotiating agency fee provisions. 45 U.S.C. § 152 Eleventh; Compl., ¶ 4 (Plaintiffs

“seek to have agency fees declared unconstitutional in the RLA context.”).

      Plaintiffs assert one count entitled “Agency Fee,” in which they acknowledge

that Section 2 Eleventh preempts laws that would prohibit agency fee agreements

between unions and employers, but assert that the “federal government lacks a

compelling governmental interest to require nonmembers to financially support a

union.” Compl., ¶ 31. They state that “Plaintiffs are suing the Union Defendants

under the First and Fifth Amendments and under 28 U.S.C. § 2201, the Declaratory

Judgment Act.” Id. Plaintiffs “seek a declaration that, under Janus and/or any other

relevant case law, agency fees are unconstitutional in the Railway Labor Act



included with the September 2017 letters, which are attached to Mr. Gerulis’
Declaration. Because they represent the complete documents sent to Plaintiffs, and
relied upon by Plaintiffs in their Complaint, these documents are appropriate to
consider as part of a motion to dismiss. In re Burlington Coat Factory Sec. Litig.,
114 F.3d 1410, 1426 (3d Cir. 1997) (A “‘document integral to or explicitly relied
upon in the complaint’ may be considered ‘without converting the motion [to
dismiss] into one for summary judgment.’”) (internal citation committed); Bret
Binder v. Weststar Mortg., Inc., No. CV 14-7073, 2016 WL 3762710, at *6 n.4 (E.D.
Pa. July 13, 2016) (for purposes of a motion to dismiss, it is proper for the court to
consider “complete versions of documents attached to the … Complaint”)

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context.” Id. Janus v. AFSCME is the 2018 Supreme Court decision which found

that in public sector employment, a state violates the First Amendment if it agrees

to require its employees to pay agency fees. 138 S. Ct. at 2479.

      As relief, Plaintiffs ask for a declaration that Section 2 Eleventh is

unconstitutional; that the Union be enjoined from enforcing the Service Fee

provision of its collective bargaining agreement with United (which would

presumably impact United as well as the other signatory to the agreement);

compensatory and/or nominal damages; attorneys’ fees and “other relief that the

Court deems just, proper, and equitable.” Compl. (Demand for Relief).

      For the reasons stated below, IAM hereby moves to dismiss this action as

barred by the Supreme Court’s holding in Hanson.

                               LEGAL STANDARD

      In deciding a motion to dismiss pursuant to Federal Rule of Civil Procedure

12(b)(6), a district court is “required to accept as true all factual allegations in the

complaint and draw all inferences in the facts alleged in the light most favorable to

the [plaintiff].” Phillips v. Cty. of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). For

purposes of a motion to dismiss, a court is “not compelled to accept unwarranted

inferences, unsupported conclusions or legal conclusions disguised as factual

allegations.” Baraka v. McGreevey, 481 F.3d 187, 211 (3rd Cir. 2007). Assuming

the factual allegations in the complaint are true, those “[f]actual allegations must be


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 enough to raise a right to relief above the speculative level.” Bell Atlantic v.

 Twombly, 550 U.S. 544, 555 (2008). In evaluating a motion to dismiss for failure to

 state a claim, a court may consider the complaint, exhibits attached thereto, matters

 of public record, and undisputedly authentic documents if the claims are based upon

 those documents. See Pension Benefit Guar. Corp. v. White Consol. Indus., 998

 F.2d 1192, 1196 (3rd Cir. 1993).

                                    ARGUMENT

         The Plaintiffs’ First Amendment challenge to Section 2 Eleventh of the RLA

 fails for two distinct reasons identified in Railway Employes’ Department. v.

 Hanson, 351 U.S. 225 (1956). First, no First Amendment issue arises at all in states,

 like New Jersey, which have not forbidden the negotiation of union security

 agreements. Second, even in those states where Section 2 Eleventh of the RLA

 preempts state laws forbidding union security agreements, that preemptive effect

 does not violate the First Amendment. We develop each point separately below.

    I.      Because New Jersey is Not a “Right to Work” State, No First
            Amendment Claim Could Be Present in this Complaint.

    “The union shop provision of the Railway Labor Act is only permissive.

 Congress has not compelled nor required carriers and employees to enter into union

 shop agreements.” Hanson, 351 U.S. at 231. Ordinarily, such governmental

 permission for private parties to act on their own would “be seen as state inaction”

 that is not subject to any constitutional constraint. Am. Mfrs. Ins. Co. v. Sullivan,

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 526 U.S. 40, 52 (1999). In Hanson, however, the Supreme Court “took the view that

 justiciable questions under the First and Fifth Amendments were presented since

 Congress, by the union shop provision of the Railway Labor Act, sought to strike

 down inconsistent laws in 17 States,” including in Nebraska where Hanson

 originated. 351 U.S. at 231-32. This was so, because “as far as these 17 States are

 concerned,” “the federal statute is the source of the power and authority by which

 any private rights are lost or sacrificed.” Id. at 232.

       As support for this state action analysis, Hanson cited the opinion of Judge

 Learned Hand in Otten v. Baltimore & O.R. Co., 205 F.2d 58 (2d Cir. 1953). In that

 opinion, Judge Hand explains that, in states where union security agreements are

 otherwise lawful, the only effect of Section 2 Eleventh is to repeal the prior

 prohibition on such agreements contained in Section 2 Fifth. Id. at 60. “Although

 that subsection had made such agreements illegal, its repeal left them as they were

 before it was passed; and there can be no plausible argument that to repeal such a

 statute was unconstitutional -- certainly, if no vested rights had accrued upon the

 faith of the repealed statute.” Ibid. Thus, in a state where “a ‘union shop,’ and

 perhaps even a ‘closed shop,’ agreement was valid,” “from no view can the

 constitutionality of Subsection Eleventh be considered to be involved.” Ibid.

       That is exactly the state of affairs in New Jersey, which has not enacted a so

 called “right to work” law. In New Jersey, the only effect of Section 2 Eleventh is


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 to repeal the RLA’s prior prohibition of union security agreements. In other words,

 the enactment of Section 2 Eleventh represents “a legislative decision not to

 intervene in a dispute between an [employer] and [a union] over whether [a union

 security agreement] is reasonable and necessary.” Sullivan, 526 U.S. at 53. And,

 the Supreme Court’s state action “cases will not tolerate ‘the imposition of

 [constitutional] restraints on private action by the simple devise of characterizing the

 [government’s] inaction as ‘authorization’ or ‘encouragement.’” Ibid. (quoting

 Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 164-65 (1978)); see also Lugar v.

 Edmondson Oil. Co., 457 U.S. 922, 939 (1982); White v. Comm’s Worker of Am.,

 370 F.3d 346, 351-52 (2004) (Alito, Circuit Court Judge) (dismissing constitutional

 challenge to agency fees under the NLRA; “If the fact that the government enforces

 privately negotiated contracts rendered any act taken pursuant to a contract state

 action, the state action doctrine would have little meaning.”); Carter v. TWU and

 Southwest Airlines, Slip. Op., No. 3:17cv2278-S, 2019 WL 416151, *17 (N.D. Tex.,

 Feb. 1, 2019) (“[t]here does not appear to be binding or even persuasive caselaw

 standing for the proposition that the RLA ‘transforms’ a union into a state actor”).

    II.     Dismissal Is Required Under Railway Employes’ Department v.
            Hanson.

          Because Hanson arose in a state that had prohibited union security

 agreements, the Supreme Court addressed the constitutionality of Section 2 Eleventh

 and squarely held that it “does not violate either the First or the Fifth Amendments.”

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 351 U.S. at 238. That holding is supported by 63 years of Supreme Court precedent

 upholding Hanson, and was not overruled but rather reinforced by the Supreme

 Court’s recent decision in Janus v. AFSCME.

       A. Background Of RLA And Section 2 Eleventh.
       By way of background, after years of labor unrest in the railroad industry and

 many unsuccessful attempts at regulation, the RLA “was passed in 1926 to

 encourage collective bargaining by railroads and their employees in order to prevent,

 if possible, wasteful strikes and interruptions of interstate commerce.” Detroit &

 Toledo Shore Line R.R. v. United Transp. Union, 396 U.S. 142, 148 (1969) (internal

 citations omitted). Air carriers and their employees were made subject to the RLA

 in 1936. 45 U.S.C. §§ 181-82.

       The RLA applies to employees in the rail and airline industries, many of which

 have national networks, and is designed to address the unique nature of this highly

 mobile workforce, and the potential impact of labor unrest in these industries on the

 national economy. 45 U.S.C. § 151a. Towards these goals, the Act imposes upon

 the parties a long and “rather elaborate machinery” for conciliation and “an

 obligation to make every reasonable effort to negotiate a settlement and to refrain

 from altering the status quo by resorting to self-help while the Act’s remedies [are]

 being exhausted.” Detroit & Toledo Shore Line, 396 U.S at 149. The RLA embodies

 a Congressional policy of placing “the responsibility squarely upon the carriers and


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 the unions mutually to work out settlements of all aspects of the labor relationship.”

 Street, 367 U.S. at 756.3

       In 1951 Congress amended the RLA by adding Section 2 Eleventh of the Act,

 which allows for the parties to negotiate a union shop provision. Id. at 755-60.4

 Section 2 Eleventh does not compel unions or employers to enter into such

 agreements; rather it simply permits them to do so as part of the bargaining process.

 See 45 U.S.C. § 152 Eleventh.5

       Congress … evaluated the proposal for authorizing the union shop
       primarily in terms of its relationship to the financing of the unions’
       participation in the machinery created by the Railway Labor Act to
       achieve its goals. The frameworks for fostering voluntary adjustments
       between the carriers and their employees in the interest of the efficient
       discharge by the carriers of their important function with minimum
       disruption from labor strife has no statutory parallel in other industry.
       That machinery, the product of a long legislative evolution, is more
       complex than that of another industry.



 3
       See Texas & New Orleans R.R. Co. v. Bhd. of Ry. & S.S. Clerks, 281 U.S. 548,
 570 (1930) (upholding the constitutionality of the RLA; rejecting railroad’s
 contention that the RLA violated parties’ First or Fifth Amendment rights by
 preventing either party from influencing the other in the section of representation
 based on Congress’ power to regulate commerce).
 4
        Originally, the RLA was silent as to union shops. In 1934, Congress amended
 the RLA to expressly prohibit union shops for fear that they were being used to
 create company-dominated unions. Street, 267 U.S. at 751, 755.
 5
        The statute also protects dissenters by providing that the union shop provision
 cannot apply to employees for whom membership is not offered, or is not offered on
 equal terms as other employees, or for matters unrelated to the payment of dues, such
 as fines or other forms of discipline imposed by the union. 45 U.S.C. § 152 Eleventh.
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 Street, 367 U.S. at 755 (1961); see also id. at 751 (union security was in “recognition

 of the expenses and burdens incurred by the unions in administration of the complex

 scheme of the [RLA]”).

       As the legislative history of Section 2 Eleventh explains, collective bargaining

 in the transportation industry is particularly costly because of the Act’s numerous

 requirements; “The mediation, arbitration, and Presidential Emergency Board

 provisions of the act, while greatly in the public interest, are very costly to the

 unions.” Id. at 761-62. Moreover, dues or fees are the means by which unions have

 the resources to complete their statutory duties under the Act.         Id. at 760-61

 (“performance of these functions entails the expenditures of considerable funds”).

 Because a union has a duty to represent equally all employees in the bargaining unit,

 regardless of their membership status in the union, through these statutorily-

 mandated mechanisms, Congress believed it to be in the interest of interstate

 commerce to allow unions and employers to negotiate contract provisions to require

 contributions to the administering and negotiation of the contract. Id. at 763.

       B. The Supreme Court Holds In Railway Employes’ Department v.
          Hanson That Section 2 Eleventh “does not violate either the First or
          the Fifth Amendments.”

       In 1956, the Supreme Court expressly rejected a constitutional challenge to

 Section 2 Eleventh in Hanson, 351 U.S. 225 (1956). Hanson arose in the Nebraska

 state courts and was brought by employees of Union Pacific Railroad seeking to


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 enjoin the application and enforcement of a union shop provision agreed to by the

 railroad and labor organizations based on Nebraska’s so called “right to work” law.

 Id. at 227-28. In upholding the provision, the Court examined the legislative history

 of both the RLA generally and Section 2 Eleventh specifically, as well as the “well

 established” role of Congress in regulating labor relations in interstate commerce.

 Id. at 233. The Court found that

       Industrial peace along the arteries of commerce is a legitimate
       objective; and Congress has great latitude in choosing the methods by
       which it is to be obtained. The choice by the Congress of the union
       shop as a stabilizing force seems to us to be an allowable one.

 Id. at 233.

       With regard to the First and Fifth Amendment challenges, the Court in Hanson

 held that “the requirement for financial support of the collective-bargaining agency

 by all who receive the benefit of its work is within the power of Congress under the

 Commerce Clause and does not violate either the First or the Fifth Amendments.”

 Id. at 238 (emphasis added). With regard to concepts of the “right to work,” the

 Court found, “one would have to be blind to history to assert that trade unionism did

 not enhance and strengthen the right to work.” Id. at 235. Hanson has been settled

 law for over 60 years and frequently reaffirmed by the Supreme Court.

       Thus, while the Court later interpreted Section 2 Eleventh to apply only to

 expenses germane to the bargaining process, it continued to uphold the validity of

 the provision and its decision in Hanson. See Street, 367 U.S. 740 (1961); Ry. Clerks

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 v. Allen, 373 U.S. 113 (1963); Ellis v. Bhd. of Ry. Employes, 466 U.S. 435 (1984).

 In reaffirming the principle that the collection of fees to defray the cost of negotiation

 and administering the contract is permissible, the Court noted that:

       The complete shutoff of this source of income defeats the congressional
       plan to have all employees benefited share costs ‘in the realm of
       collective bargaining,’ and threatens the basis congressional policy of
       the Railway Labor Act for self-adjustments between effective carrier
       organizations and effective labor organizations.

 Street, 367 U.S. at 772.

       C. The Supreme Court’s Holding In Hanson Requires Dismissal Of This
          Case.

       In this action, Plaintiffs neither challenge the Union’s procedures for

 processing their fees, nor do they allege that their fees are being used for improper

 purposes under the Act. It is undisputed that they are not required to become union

 members (and in fact are not members) and can become dues objectors and only pay

 a pro rata share of dues equivalent, which is used to help defray the cost of expenses

 related to collective bargaining. Instead, Plaintiffs directly challenge the

 constitutionality of Section 2 Eleventh under the First and Fifth Amendments. This

 matter was squarely decided by the Supreme Court in Hanson and that decision

 requires this Court dismiss Plaintiffs’ lawsuit for failure to state a claim. See United

 States v. Extreme Assocs., Inc., 431 F.3d 150, 155 (3d Cir. 2005) (reversing decision

 of district court based on district court’s failure to follow Supreme Court precedent),

 cert. denied, 547 U.S. 1143 (2006). Dismissal is required even if could be argued,

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 as Plaintiffs wrongly suggest in their Complaint, that the legal reasoning behind the

 binding precedent has been called into doubt by another line of cases. Id. (citing to

 Rodriguez de Quijas v. Shearson/American Express Inc., 490 U.S. 477, 484 (1989)

 (“[i]f a precedent of this Court has direct application in a case, yet appears to rest on

 reasons rejected in some other line of decisions, the Court of Appeals should follow

 the case which directly controls, leaving to this Court the prerogative of overruling

 its own decisions”).

       Plaintiffs’ claims are precluded by Hanson and this case should be dismissed.

       D. The Supreme Court’s Recent Decision In Janus v. AFSCME
          Involving State Public Employees Is Inapplicable.

       Plaintiffs nevertheless mistakenly claim that the Supreme Court’s recent

 decision in Janus v. AFSCME, overrules both aspects of the holding in Hanson

 discussed above and requires a finding that “agency fees are unconstitutional in the

 Railway Labor Act context.” Compl. ¶ 32. Janus did not so hold, and nothing in

 that decision could be reasonably construed to support such a determination. To the

 contrary, the majority decision in Janus all but expressly reaffirmed that private-

 sector agency fee obligations under the RLA do not raise any First Amendment

 issue. See Janus, 138 S. Ct. at 2479 and n.24.

       The issue in Janus was whether “public-sector agency-shop arrangements

 violate the First Amendment.” Id. at 2478. The Court held that such arrangements

 -- in which a governmental entity and a labor organization agree to require

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 government employees to pay fees, which are used by the union to negotiate how

 government funds are spent and in what amounts -- implicate the First Amendment

 in ways dramatically distinct from agency fees in the private sector. Public-sector

 fees involve “the government … compel[ling] a person to pay for another party’s

 speech,” on matters involving “the budget of the government” and “the performance

 of government services.” Id. at 2467, 2473. With respect to a non-consenting

 employee, the Court held, “this arrangement [in the public sector] violates the free

 speech rights of nonmembers by compelling them to subsidize private speech on

 matters of substantial public concern.” Id. at 2460; see also id. at 2466 (public-

 sector agency fees inherently pay for “speak[ing] out with the objective of obtaining

 government action”).

       Private sector agency fees raise no such issue. Plaintiffs here all work for a

 private company -- United Airlines. The First Amendment limits governmental

 action, not the action of private parties. Pursuant to a provision of a contract

 negotiated between IAM and United, and approved by majority of the membership,

 Plaintiffs pay only a reduced agency fee to the IAM as the certified collective

 bargaining representative, and such fees are only used for matters germane to

 collective bargaining -- they are not used for political activities or matters outside

 the realm of labor-management relations. See generally Comm’s Workers of Am. v.

 Beck, 487 U.S. 735, 762-63 (1988) (“§2, Eleventh of the RLA[] authorizes the


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 exaction of only those fees and dues necessary to ‘performing the duties of an

 exclusive representative of the employees in dealing with the employer on labor-

 management issues.”) (citation omitted). No government mandates that Plaintiffs

 pay an agency fee; it is the product of a private arrangement between private parties,

 and the fee is used solely to support the union’s obligations as the exclusive

 collective bargaining representative.    As the Janus Court took pains to note,

 “Congress’ bare authorization of private-sector union shops under the Railway

 Labor Act … [raises] a very different First Amendment question … [than] when a

 State requires its employees to pay agency fees.” Id. at 2479; see also Carter v.

 TWU, No. 3:17-CV-2278-S, 2019 WL 416151 (N.D. Tex. Feb. 1, 2019), at *12

 (rejecting attempt to apply Janus in the private sector; “Janus applies to public-

 sector unions and workers, not private-sector unions and workers.”).

       In sum, the Janus Court did not overturn the cases which control here and,

 indeed, went out of its way to pour cold water on the very notion of any free speech

 issue arising under Section 2 Eleventh. Id. at 2479, n.24. Plaintiffs attempt to rely

 on Janus in this case must fail.6




 6
       Because Plaintiffs’ substantive claims fail, their request for relief under the
 Declaratory Judgement Act must also fail. See Interfaith Comm’y Org. v. Honeywell
 Intern., Inc., 263 F.Supp.2d 796, 871 (D.N.J. 2003) (because party cannot sustain its
 burden of on its substantive claims, it “is not entitled to a declaratory judgment”).
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                                    CONCLUSION

       For the foregoing reasons, the IAM respectfully requests that this Court

 dismiss Plaintiffs’ Complaint in its entirety.



 Dated: June 3, 2019                     /s/ John J. Grunert
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                  LOCAL CIVIL RULE 11.2 CERTIFICATION

        Pursuant to Local Civil Rule 11.2, the undersigned attorney for the IAM
 certifies that, to the best of signatory’s knowledge, the matter in controversy is not
 the subject of another action pending in any court or of any pending arbitration or
 administrative proceeding.

                                               /s/ John J. Grunert
                                               John J. Grunert
